              Case 2:17-cr-00163-TSZ         Document 62      Filed 11/06/17      Page 1 of 2




 1                                                         THE HONORABLE THOMAS S. ZILLY
 2

 3

 4

 5

 6

 7                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 8                                            AT SEATTLE
 9                                                   No. 2:17-cr-00163-TSZ
     UNITED STATES OF AMERICA,
10                                                   ORDER GRANTING UNOPPOSED
                               Plaintiff,            MOTION TO TEMPORARILY
11                                                   REMOVE LOCATION MONITORING
             v.                                      TRACKER AND TO ALLOW LEGAL
12                                                   VISITS AT THE FEDERAL
     SUNG HONG,                                      DETENTION CENTER
13     aka LAURENCE HONG
       aka LAWRENCE HONG
14   and
     HYUN JOO HONG,
15     aka GRACE HONG,
16                             Defendants.
17
             This matter having come to the Court’s attention pursuant to the Unopposed Motion,
18
     docket no. 60, to Temporarily Remove Location Monitoring Tracker and to Allow Legal Visits
19
     at the Federal Detention Center, and the Court having reviewed the basis for the motion,
20
             It is hereby ORDERED that the Court grants permission to the U.S. Probation and
21
     Pretrial Services for the Western District of Washington to temporarily remove Hyun Joo Hong’s
22
     (“Ms. Hong”) location monitoring tracker for the purpose of allowing Ms. Hong to confer with
23
     her co-defendant (her husband), and counsel at the Federal Detention Center (FDC), SeaTac.
24
     This order applies to all properly verified legal meetings between Ms. Hong and her co-
25
     defendant (husband). The tracker will be removed in advance of such meetings at the Seattle
26

     ORDER GRANTING TEMPORARY                                                Perkins Coie LLP
                                                                        1201 Third Avenue, Suite 4900
     REMOVAL OF TRACKER                                                   Seattle, WA 98101-3099
     (No. 2:17-cr-00163-TSZ) – 1                                            Phone: 206.359.8000
     126172-0001/LEGAL137549511.1                                            Fax: 206.359.9000
              Case 2:17-cr-00163-TSZ         Document 62      Filed 11/06/17      Page 2 of 2




 1   probation office, or other location deemed appropriate by the probation officer. The tracker must
 2   be re-installed immediately after visitation.
 3

 4           DATED this 6th day of November, 2017.
 5

 6

 7
                                                         A
                                                         Thomas S. Zilly
                                                         United States District Judge
 8

 9

10

11   Presented by:

12        s/ Thomas W. Hillier, II
          Thomas W. Hillier, II, WSBA No. 5193
13        THillier@perkinscoie.com
          Michelle L. Maley, WSBA No. 51318
14        MMaley@perkinscoie.com
          Perkins Coie LLP
15        1201 Third Avenue, Suite 4900
          Seattle, WA 98101-3099
16
          Telephone: 206.359.8000
17        Facsimile: 206.359.9000

18   Attorneys for Defendant Hyun Joo Hong, aka
     Grace Hong
19

20

21

22

23

24

25
26

     ORDER GRANTING TEMPORARY                                                Perkins Coie LLP
                                                                        1201 Third Avenue, Suite 4900
     REMOVAL OF TRACKER (No. 2:17-cr-                                     Seattle, WA 98101-3099
     00163-TSZ) – 2                                                         Phone: 206.359.8000
     126172-0001/LEGAL137549511.1                                            Fax: 206.359.9000
